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                     THE UNITED STATES DISTRICT COURT                 flP.l/~ .:',',~:o
                       FOR THE DIS!RICT     ?~~ARYLAND            ~              4:ii,JM 5: 28
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 THE STATE OF MARYLAND,                                           5If~~~(f,1\tJeo;
                             Plaintiff,                               WI7<t    Ci. f\'I   c   fl 0."1   •



        v.
                                                                      urr
                                                      Civil Action NO.1: 18-cv-02849-ELH
 UNITED STATES DEPARTMENT OF                                          lA-SO~.
 JUSTICE, et al.,                                                      IIIL(,I/~
                             Defendants.



    MOTION FOR LEA VE TO FILE BRIEF OF THE DISTRICT OF COLUMBIA,
 COMMONWEALTH      OF PENNSYLVANIA, AND THE STATES OF CONNECTICUT,
DELA WARE, HA WAIl, ILLINOIS, MAINE, MASSACHUSETTS, NEW MEXICO, NEW
    YORK, NORTH CAROLINA, OREGON, RHODE ISLAND, VIRGINIA, AND
   WASHINGTON AS AMICI CURIAE SUPPORTING PLAINTIFF'S MOTION FOR
PRELIMINARY INJUNCTION, TO SUBSTITUTE DEFENDANT, AND TO EXPEDITE
                             CONSIDERA TION
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       The District of Columbia, Commonwealth of Pennsylvania, and the States of Connecticut,

Delaware, Hawaii, Illinois, Maine, Massachusetts, New Mexico, New York, North Carolina,

Oregon, Rhode Island, Virginia, and Washington (the "proposed Amici States") move for leave to

file the attached brief (Exh. I) as amici curiae in support of Plaintiff State of Maryland's Motion

for Preliminary Injunction, to Substitute Defendant, and to Expedite Consideration of These

Matters (ECF No.6).     Plaintiff consents to the filing of this brief, and defendants consent subject

to the Court's determination that the brief will assist the Court in resolving the issues in the case.

       District courts have discretion whether to grant leave to file a brief as amicus curiae, and

they often look for guidance to Rule 29 of the Federal Rules of Appellate Procedure, which applies

to amicus briefs at the appellate level. Am. Humanist Ass 'n v. Md.-Nat 'I Capital Park & Planning

Comm'n, 303 F.R.D. 266,269 (D. Md. 2014); Finkle v. Howard County, MQ/yland, 12 F. Supp.

3d 780, 782-83 (D. Md. 2014); Wash. Gas Light Co. \'. Prince George's Cty. Council, No. CIV.A.

DKC 08-0967, 2012 WL 832756, at *3 (D. Md. Mar. 9, 2012), afJ'd, 711 F.3d 412 (4th Cir. 2013).

Under Fed. R. App. P. 29(a)(2), a state may file an amicus brief without the consent of the parties

or leave of court. In the absence of a parallel rule that applies in district court, courts generally

pennit the assistance of amici curiae "where they provide helpful analysis of the law, they have a

special interest in the subject matter ofthe suit, or existing counsel is in need of assistance." Bryant

v. Better Bus. Bureau 01 Greater Md., Inc., 923 F. Supp. 720, 728 (D. Md. 1996) (citations

omitted); accord Wash. Gas Light Co., 2012 WL 832756, at *3. This Court should grant the

proposed Amici States leave to file the attached brief for two reasons.

        First, the proposed Amici States have a special interest in the subject matter of Plaintiff

State of Maryland's request to enjoin Matthew Whitaker from exercising the authority of the U.S.

Attorney General or to substitute Rod Rosenstein as a defendant.         The Attorney General of the
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United States makes many decisions fundamentally affecting the lives of proposed Amici States'

residents.    Additionally, the proposed Amici States work closely with the Department of Justice

every day, coordinating law enforcement activities and administering hundreds of millions of

dollars in grant programs.    They thus have a compelling interest in the Department's     ability to

effectively carry out its statutory responsibilities consistent with the rule of law. Unfortunately,

the legal controversy surrounding Mr. Whitaker's appointment has threatened the legitimacy of

the Department's actions and the vital relationships between the Department and the States. The

proposed Amici States therefore have an urgent interest in the resolution of this issue, so that no

doubts surround the legitimacy and authority of the United States Attorney General and the United

States Department of Justice.

        Second, the proposed Amici States' brief provides helpful analysis of the relevant law. The

accompanying brief addresses the proper statutory construction of the applicable federal laws,

including the Attorney General succession statute and the Vacancies Reform Act of 1998. The

brief also demonstrates the flaws with the 20-page legal opinion issued by the Department of

Justice's Office of Legal Counsel after Maryland's motion was filed. The proposed Amici States

have examined the applicable federal law and have concluded that Mr. Whitaker's appointment is

unlawful. At minimum, it violates Congress's express and controlling statutory designation of the

Deputy Attorney General as the Acting Attorney General in the event of a vacancy. This unlawful

appointment requires immediate correction to prevent harms to the proposed Amici States caused

by the actions of an improperly designated Attorney General whose decisions are subject to

possible invalidation.




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       For the foregoing reasons, the proposed Amici States respectfully request leave to file the

accompanying brief as amici curiae in support of Plaintiff State of Maryland's Motion for

Preliminary Injunction, to Substitute Defendant, and to Expedite Consideration of These Matters.

November 26, 2018                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 20 18, I caused a true and correct copy of the

foregoing to be served on all counsel of record through the Court's CM/ECF system.



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